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                           UNITED STATES DISTRICT COURT
20               NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
21
                                                         Case No. 4:20-cv-5146-YGR-SVK
22   PATRICK CALHOUN, et al., on behalf of
     themselves and all others similarly situated,,
23                                                       STIPULATION AND [PROPOSED]
            Plaintiffs,                                  ORDER RE LIMITED REMAND
24
           v.
25
     GOOGLE LLC,
26
            Defendant.
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                                                                          Case No. 4:20-cv-5146-YGR-SVK
                                                STIPULATION AND [PROPOSED] ORDER RE LIMITED REMAND
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 1          Plaintiffs and Defendant Google LLC (together, the “Parties”), by and through undersigned

 2 counsel, respectfully submit this Stipulation and Proposed Order Regarding Scope of Order of

 3 Summary Judgment.

 4          WHEREAS, on December 12, 2022, the District Court granted Google’s Motion for

 5 Summary Judgment based on the Court’s finding that Plaintiffs consented to the conduct at issue

 6 (the “Order,” District Dkt. No. 935);

 7          WHEREAS, on December 12, 2022, the Court entered Judgment dismissing the case

 8 (District Dkt. No. 937);

 9          WHEREAS, on December 20, 2022, Plaintiffs filed a Notice of Appeal;

10          WHEREAS, Google sought limited remand from the Ninth Circuit to clarify the scope of

11 the Order, specifically, whether Court’s determination that Plaintiffs’ claims are barred by their

12 consent to the conduct at issue also applies to Counts 1, 6, 10, 12, 15 and 16 (the “Dormant Claims”);

13          WHEREAS, on March 31, 2023, the Ninth Circuit granted Google’s motion for limited

14 remand with respect to the scope of the Order;

15          WHEREAS, via email on April 4, 10, 11 and 12, the Parties met and conferred and reached

16 certain agreements intended to promote efficiency and conserve judicial resources;

17          NOW, THEREFORE, the Parties stipulate as follows:

18          1. Consent is either a required element of or a defense to Counts 1, 6, 10, and 12.

19              Accordingly, these claims are dismissed as a result of the Court’s finding that Plaintiffs

20              consented to the conduct on which the claims are based.

21          2. Plaintiffs do not dispute that Counts 15 (punitive damages) and 16 (declaratory

22              judgment) require a surviving cause of action, and, therefore, are dismissed as well.

23          3. Accordingly, the Court’s Order applies to and dismisses all claims, including the

24              Dormant Claims.

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 1         4. If the Court deems it necessary, the Parties agree to append the following language to

 2             line 11 of page 27 of the Order:

 3
                           “Following limited remand from the Ninth Circuit, the Court clarifies
 4                         that this Order applies to all claims asserted in Plaintiffs’ First
                           Amended Complaint, including the six “Dormant Claims.” . Counts
 5
                           1 (the federal Wiretap Act), 2 (Invasion of Privacy), 10 (Unjust
 6                         Enrichment), and 12 (the California Computer Data Access and Fraud
                           Act) are dismissed, following Plaintiffs’ stipulation. Counts 15
 7                         (punitive damages) and 16 (declaratory judgment) are terminated
                           because Plaintiffs may not recover punitive damages or obtain
 8                         injunctive relief in the absence of any other live cause of action.”
 9
           Plaintiffs reserve all rights to appeal the Court’s ruling.
10

11 DATED: April 12, 2023

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                                           STIPULATION AND [PROPOSED] ORDER RE LIMITED REMAND
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 1                               [PROPOSED] ORDER

 2
           PURSUANT TO STIPULATION, IT IS SO ORDERED.
 3

 4
            May 16, 2023
     Date: ___________________         __________________________________
 5
                                       HON. YVONNE GONZALEZ ROGERS
 6
                                       United States District Court Judge
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                                   STIPULATION AND [PROPOSED] ORDER RE LIMITED REMAND
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 1                ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1(h)(3)

 2          I, Andrew H. Schapiro, attest that concurrence in the filing of this document has been

 3 obtained from the other signatories. I declare under penalty of perjury that the foregoing is true and

 4 correct.

 5          Executed this 12th day of April, 2023, at Chicago, Illinois.

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 7                                                /s/ Andrew H. Schapiro

 8                                                Andrew H. Schapiro
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